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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

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In Re: A. Scott Bolden                         :          Case No. 1:23-mc-00040-LKG

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                                   ENTRY OF APPEARANCE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

Please enter my appearance as counsel in this case for the Respondent, A. Scott Bolden.

I certify that I am admitted to practice in this Court.



Date: January 24, 2023                               /s/
                                       Devon L. Harman, Bar No. 21936
                                       RIFKIN WEINER LIVINGSTON LLC
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                                       Baltimore, MD 21211
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                                       Attorneys for A. Scott Bolden, Respondent




                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 24th day of January 2023, copies of the within Entry of

Appearance were served on all parties of record via ECF.


                                                            /s/
                                               Devon L. Harman, Bar No. 21936




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